Case 1:96-cv-06161-GBD-JCF Document 294 Filed 12/18/18 Page 1 of 23


                           96 CV 6161 (GBD)

                           TINITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK



                           ZAKUNDA-ZE HANDBERRY, e/ a/.,

                                                                          Plaintiffs,

                                                   -against-

                           WILLIAM C. THOMPSON,         JR., et al.,

                                                                         Defendants




                          CITY DEFENDANTS' MEMORANDUM OF LAW IN
                          SUPPORT OF THEIR MOTION FOR PARTIAL
                          CONFIRMATION OF THE SPECIAL MASTER'S
                          THIRD REPORT AND IN OPPOSITION TO
                          PLAINTIFFS' OBJECTIONS


                                         ZACIIARY W. CARTER
                                Corporation Counsel of the City of New York
                                     Attorney for City Defendants
                                     I00 Church Street
                                     New York, N.Y. 10007

                                     O.f   Counsel: Janice L. Birnbaum
                                     Tel: (212) 356-2085
                                     Matter No. 96GL022066
    Case 1:96-cv-06161-GBD-JCF Document 294 Filed 12/18/18 Page 2 of 23




                               TABLE OF CONTENTS

                                                                      Page

TABLE OF AUTHORITIES

PRELIMINARY STATEMENT     ..


STATEMENT OF FACTS AND RELEVANT PROCEDURAL HISTORY                         5


STANDARD OF REVIEW...                                                      9

LEGAL ARGUMENT

           POINT ONE

                 THE COURT SHOULD AFFIRM THE SPECIAL
                 MASTER'S FACTUAL FINDINGS THAT
                 DURING THE MONITORED                 PERIOD
                 ADOLESCENTS WERE PROVIDED WITH
                 LEGALLY SUFFICIENT EDUCATIONAL
                 SERVICES EACH SCHOOL DAY AND
                 OVERRULE PLAINTIFFS' OBJECTIONS ............             11


           POINT TWO

                 THE COURT SHOULD AFFIRM THE SPECIAL
                 MASTER'S FACTUAL FINDINGS AS TO DOE
                 DURING THE MONITORED PERIOD, AND
                 OVERRULE PLAINTIFFS' OBJECTIONS .............            17

CONCLUSION                                                                t9
       Case 1:96-cv-06161-GBD-JCF Document 294 Filed 12/18/18 Page 3 of 23




                                              TABLE OF AUTHORITIES

Cases                                                                                   Pages

Benjamin v. Jacobson,       ll2F.3d           144 (2d   Cir. 1998)                       .....13

D.C. v. Department of Education, State of Hawaii 2008 U.S. Dist. LEXIS 56507
   (D. Haw. July 25,2008) (magistrate.report), adopted 2008 U.S. Dist. LEXIS
   71830 (D. Haw. Au5.25,2008)..                                                                 10


Handberry v. Thompson,
   219 F. Supp. 2d 525 (S.D.N.Y. 2000), aff'd in part, vacated in part and
   remandedinpart,446F.3d335 (2d Cir.2006).                             ........4,5,6,1I,12,16

Island Intellectual Property LLC v. Deutsche Bank AG,
    2012 U.S. Dist. LEXIS 16413 (S.D.N.Y. Feb. 6,2012)....                                 ...   l0

Ladner v. City of New York,20 F.Supp.2d 509 (E.D.N.Y. 1998)                                       4

Lancaster v. Tilton,2007 U.S. Dist. LEXIS 95523 (C.D. CaL.2007) ........                    .. 13

Paul v. Intel Corp.,2012 U.S. Dist. LEXIS 141137 (D. Del. 2012)                                  10




Federal Statutes and Resulations

18 U.S.C. 5 3626.......                                                                ....... 10

18   u.s.c. $3626(a)(1)(A)...               ...                                        ...6,     10


18 U.S.C. $    3626(bX3).       .........                                              .......   l0

20 U.S.C. $ 1400, et seq.                                                              ....',,,.7

20   u.s.c. $ 1414(dx3xD)           ....                                               ...4,     16


20   u.s.c. $ 1414(dx3xF)..                                                            '.......,4

20   u.s.c. $ 1414(dx4xA)(ii)......                                                    ...4, t6

20 U.S.C. $ 3626(aX1)        .    ...                                                            16


Fed. R. Civ. P. 53.......                                                                  ,...9

Fed. R. Civ. P. 53(aX1XC)                                                                  ..,,9

Fed. R. Civ.   P.53(0(l).....                                                              3,10
       Case 1:96-cv-06161-GBD-JCF Document 294 Filed 12/18/18 Page 4 of 23




Statutes                                                                Pages


New York Statu        and Resulations

N.Y. Coruection Law $ 500-p                                             ......13

N.Y. Education Law $ 3202(7):.                                                 5


N.Y. Education Law 5 3202(7)(a)......                                          5


8NYCRR II8.1.........                                                          5


8   NYCRR 118.3(a)                                                             5


8   NYCRR 118.4(b)                                                           l1

8 NYCRR I I8.5.........                                                       5


9 NYCRR 7070.1................                                                5


e   NYCRR 1070.2(a)(t)    .                                                   5


9   NYCRR 7070.2(a)(2)                                                        5


9   NYCRR 7070.2(a)(3)                                                        5


e   NYCRR 7070.4(bX1)                                                         5


9   NYCRR 7070.4@)....                                                        5
        Case 1:96-cv-06161-GBD-JCF Document 294 Filed 12/18/18 Page 5 of 23




UNITED STATES DISTRICT COURT
SOUTFIERN DISTRICT OF NEW YORK


ZAKI-INDA-ZE HANDBERRY, et al.,

                                                                Plaintiffs
                                                                             96 CV 616r (GBD)
                             -against-

WILLIAM C. THOMPSON,             JP.., et   al.,

                                                           Defendants.




                         CITY DEFENDANTS' MEMORANDUM OF
                         LAW IN SUPPORT OF THEIR MOTION
                         FOR PARTIAL CONFIRMATION OF THE
                         SPECIAL MASTER'S THIRD REPORT AND
                         IN      OPPOSITION                     TO       PLAINTIFFS'
                         OBJECTIONS

                                   PRN,LIMINARY STATEMENT

                The City Defbndantsl seek to have the Court adopt in large measure Special

Master Peter Leon e's Third Report on the Status of Education Services for Inmates Aged 16-21

at Rikers Island, revised July 2018 ("Third Report" or "Report"; Docket No.273-2). In the

Report, Dr. Leone analyzed City Defendants' compliance with the Court's current injunction

order dated March 31, 2016 ("Order"; Docket No.                    250). Since the Third Report   covers Dr.

Leone's two years of monitoring that errded on March 31,2018 (the "Monitored Period"), City

Defendants seek adoption of portions of            it   ar-rd   do not see a need to have the earlier Second



I th.  City Defendants are the City of New York ("City") on behalf of its mayoral agency, the New York City
Deparllnent of Correction ("DOC"), the Nerv York City Board of Education ("BOE") now known as the New York
City Depanrnent of Education ("DOE"), and a nunrber of fortner DOC officials and the former members of BOE's
board, all sued in their official capacity. Hence these defendants are collectively ref'erled to as the "City
Defendants" throughogt this tnemorattdurn of law and tf e sLrpporting declaration.
         Case 1:96-cv-06161-GBD-JCF Document 294 Filed 12/18/18 Page 6 of 23




Report on the Status of Education Services.for Inmates Aged I6-21 at Rikers Island, revised

December 19,2011 ("Second Report"; Docket No. 273-l) formally adopted, except to the

extent that      it is incorporated in the Third Report. In addition, as outlined herein,    Plaintiffs'

objections to the Second and Third Reports are without merit.

                     First, Dr. Leone's conclusion that adolescent class members were provided with

more than the legally required three hours of educational services each school day during the

Monitored Period is well-documented, long-standing and indisputable. This finding applies to

all adolescents, including those who were in special housing units, such as the Transitional

Restorative Unit and Second Chance Housing, among others. The conclusion includes both

general and special education. Hence, as to the adolescents, City Defendants were in substantial

compliance during the Monitored Period.

                     Second, Dr. Leone's factual findings support the conclusion that DOE met its

obligations in all regards during the Monitored Period. Pursuant to parameters set out in State

law, DOE is required to make available a minimum of three hours of educational services to

eligible inmates2 (i.e., class members) each school day. DOE provided and continues to provide

such coursework in small class settings and sometimes individually. Moreover, even when l8-

21 year old eligible inmates failed to attend class, DOE had teachers assigned to cover           those

classes. Hence DOE met its legal obligations.

                     Third, the Special Master's conclusiorr is well-supported by his analysis and the

cited evidence that City Defendants have in place and inrplement a policy and procedures that

facilitate the movement             of   class members wlio opt   to receive DOE-provided   educational



2
    For the definition of eligible inmate, see infi'a at 5




                                                             2
       Case 1:96-cv-06161-GBD-JCF Document 294 Filed 12/18/18 Page 7 of 23




services to jails where DOE offers educational services. Qllote that since adolescent class

members were and continue to be housed only                  in facilities where DOE provides educational

services to them, this provision of the Order (fl3) applies only           to I 8-21 year olds.)

                  Thus the City Def-endants request that the Court confirm Dr. Leone's Third

Report as to these findings.

                  In addition, Plaintiffs have filed objections to the Special Master's Report that

are without legal and/or factual support. Plaintiffs' objection that the Report is too dated and

without factual support is meritless. The Reporl summarizes the Special Master's findings from

his visits over the 2-year monitoring period that ended just nine months ago. While it does not

contain any findings concerning the Horizon Juvenile Center ("Horizon"), the detention facility

at which 16-17 year old adolescents are currently housed, post implementation of the Raise the

Age legislation on October 1,2018, that does not render moot or irrelevant the findings made by

the Special Master concerning education for adolescents prior to October                     1. Those findings
should be adopted and the weight to be given to them                  -   for example on a future motion to

terminate made by City Defendants           - can be determined       at that point. Plaintiffs' objection that

the Report lacks factual support is without merit, as the bases for the Special Master's

conclusions are expressly set forth in the Report (and the earlier reports to the extent that they

are referenced).3 Moreover,        if there is an open question, the Court could resubmit the Report to

the Special Master with instructions to provide additional infonnation. Fed. R. Civ. P. 53(0(1).


3
  It is based on seven site visits totaling l6 days: observed classroorn instruction during which the Special Master
obtained copies     of handouts, worksheets, and instructional rraterials; interviewed students as well as
adrninistrators, teachers, and DOE and DOC support staft reviewed attendance records" and IndividLnlized
Education Prograrns, Special Education Prograrrs, and related docurnents; debriefed with DOC and DOE
leadership after each visit and nrade recomrrendations; and conferred with DOE's Distlict 79 staff before and after
visits to request additional documents and inforrnation. Third Report at 4, 6,7   .




                                                         J
      Case 1:96-cv-06161-GBD-JCF Document 294 Filed 12/18/18 Page 8 of 23




               Moreover, Plaintiffs' reliance on newspaper reports must be rejected because all

are inadmissible hearsay. Thus none of the exhibits annexed to the Stone declaration are

admissible evidence. Ladner v. City of New York,20 F.Supp.2d 509, 519 (E.D.N.Y. 1998).

               Further, the undisputed evidence shows that DOE has met its obligations. DOE

has and continues to make available required general and special education services to all class

members. Further, plaintiffs' complaint is meritless concerning the closure of the George

Motchan Detention Center ("GMDC") and its school houses. That GMDC inmates are now

housed in other jails does not show that they do not have access to DOE-provided educational

services, since DOE's East River Academy has and continues to provide educational services at

a number of other   jails on Rikers Island which house former GMDC eligible inmates. Further,

there is no legal requirement to utilize school dorms      -   and while Dr. Leone has expressed a

preference for them, his finding was that the GMDC school dorm only                  slightly improved

school attendance. Third Report at   5,7.   Moreover, as observed by Judge Motley in this case,

"maximization of enrollment is not the business of the court," Handberry v. Thompson, 219 F.

Supp. 2d 525,534 (S.D.N.Y. 2000). In addition, plaintiffs are mistaken when they suggest that

a student's special education plan cannot be changed except for legitimate penalogical reasons.

Under both the Or"der and the Individuals with Disabilities Education Act, a plan may be

amended or modified following an IEP/SEP team meeting or upon written agreement (20

U.S.C. $$ 1414(d)(3)XD), (dX3XF), (dX4XAXii)) and under the Order, a plan may be amended

or'modified fbr legitimate penalogical reasons   as   well. Docket No.   ZSO, flS.


               Thus, fbr the reasons outlined above, the Court should adopt tlrose portions         of

the Special Master's Third Report that contain the factual findirigs as to adolescents and as to




                                                 4
       Case 1:96-cv-06161-GBD-JCF Document 294 Filed 12/18/18 Page 9 of 23




DOE, confirm the Special Master's findings of substantial cornpliance as to paragraph 3 of the

Order,a and reject Plaintiffs' objections to the Report.

                                 STATEMENT OF FACTS AND
                              RELEVANT PROCEDURAL HISTORY

                 This class action concerns the provision of educational services by the New York

City Department of Education ("DOE") to a class of school-age inmates incarcerated                           at

correctional facilities operated by the City of New York ("City") through its Department                     of

Correction ("DOC"). The class is composed of eligible inmates. An eligible inmate is someone

who meets the following criteria:

                 a. is incarcerated at a correctional facility operated by DOC
                      G\f .Y. Education Law $ 3202(7), 8 NYCRR I 18.1, 9 NYCRR
                      7070.1); and

                 b.   has been incarcerated for ten or more calendar days, or in the
                      judgment of the warden of the inmate's facility, is reasonably
                      likely to be incarcerated for ten or more calendar days, plus an
                      additional twelve school days (8 NYCRR 118.1, 118.3(a),
                       1 1 8. 5 ; 9 NYCRR 7 07 0.2(a)(3), 7 07 0.4(b)(t), 7 07 0.4(g)) ; and


                 c. has not received a high school diploma or its equivalent (8
                      NYCRR 118.1, 9 NYCRR 7070.2(a)(2)); and

                 d. is under 27 years of age on September I of the applicable
                      school year (8 NYCRR       1   I 8.1, 9   NYCRR 7010.2(a)(1)); and

                 e. if the inmate is 18-21 years of age, has indicated  a desire to
                      receive DOE-provided educational services while incarcerated
                      aI a DOC       correctional facility (N.Y. Education Law              $
                      3202(7)(a).

See Handberry v. Thontpson, 21 9 F.Supp .2d 525. 546 (S.D.N .Y . 2002),            uff'd in par,t, vacated in

part anel remctndec{ in part, 446 F.3d 335 (2d Cir. 2006); see also, Declaration of Timothy

a
  Th. Sp..iul Master also found substantial cornpliance with paragraph 5 of the Order, which concerns special
education requirements. This falls to DOE exclusively. City Defendants ask the Court to find DOE in substantial
corrpliance with all of its obligations, including paragraph 5.




                                                        5
        Case 1:96-cv-06161-GBD-JCF Document 294 Filed 12/18/18 Page 10 of 23




Lisante dated October 12, 2001 ("Lisante Decl."), Ex.               A   (Education Plan) at 2 (Docket No.

172).

                     In January 2000,judgment was entered against defendants (Docket Nos. 71, 81)

and they were ordered to draft an education plan, which was filed and adopted by the Court.

(Docket Nos. 82, 96). In October 2000, the Court appointed a monitor for one year (Docket No.

99), who reported to the Court in 2001 on the implementation of the Education Plan (Docket

Nos. 106,       1 1 5),   which led to motion practice in Spring 2002 (Docket Nos. 109-112, I I 8- 123),

and the Court's 50-paragraph injunction dated August 29,2002 (the "lnjunction") (Handberry,

219F.Supp.2dat546-51),whichwasappealed(446 F.3d335 (2dCir.2006)). InApril 2006,

following panel rehearing, the Second Circuit issued its amended opinion and mandate,s in

which      it   vacated 23 Injunction paragraphs without remand,6 affirmed 13 paragraphs that

appeared        to be based primarily on federal statutory law,7            and vacated and remanded 9

paragraphs*       "*ith     instrnctions that the district court determine which,     if   any, of the remanded

paragraphs of the injunction are 'necessary to correct the violation of the Federal right                   of   a


particular plaintiff or plaintiffs,' 18 U.S.C. $3626(a)(1XA), and limit the injunction thereto."

Handberry, 446 F .3d at 356.

                     Eight months later, plaintifl's moved fbr an amended injunction. In September

2007, they amended that motion to reflect the amendments to the Individr-rals with Disabilities


5
 The Cir.cuit's opinion references IDEA 1997 and its sLrperseded regulations, as that was the law under which the
case was originally briefed and argued. IDEA was anrended and reauthorizedin2004, and the revised statute took
effect on July 1.2005; new regulations were protnulgated in August 2006.

t'The 23 vacated paragraphs are
                                flfl3-5, 1,9-18,21.22,27.39-43 and 45.
TTIre
        l3affirmedparagraphsareJftl6,8,19,24.26,28,3l-32,34,31,44,46and47.
8
    Th.9   vacated and remanded paragraphs are flfl20, 23,25.29.30,33,35,36 and 38.




                                                        6
       Case 1:96-cv-06161-GBD-JCF Document 294 Filed 12/18/18 Page 11 of 23




Education Act,20 U.S.C. $ 1400, et             sec1.   ("IDEA") that took effect in 2005. In October 2007,

City Defendants filed opposition paper! to plaintiffs' amended motion. (Docket Nos. 171-173,

1S2). Oral argument was heard in early 2008, and thereafter, the matter was referred to

Magistrate Francis to see          if   any disputed issues could be resolved or narrowed. (See minute

entries from March-September 2008.) They could not.

                   In October 2013, the matter was referred back to Magistrate Francis for                         non-

dispositive purposes (Docket No. 185). Defendants submitted the declaration of Nicholas

Marinacci dated January 73,2014 (Docket No. 189-l), to update the court and the parties on

educational services to class members. Plaintiffs filed an opposition submission (Docket No'

192). By order dated June 10, 2014 (Docket No. 203; "Appointing Order"), Magistrate Francis

appointed Dr. Peter Leone as the special master "to collect and evaluate facts relating to the

provision of educational services to DOC inmates between the ages                         of 16 and 2l       insofar as

those facts    will   assist the Court     in moclifying the Injunction in accord with the mandate of the

Second     Circuit." Id. at3.e In fall 2014, Dr. Leone conducted a 5-day site visit of East River

Academy ("ERA";, DOE's educational program to eligible inmates on Rikers Island. That fall,

Dr. Leone interviewed 30 eligible inmates, both 16-17 year old adolescents and 18-21 year old

youllg adults, as well as teachers and school administrators; had conversations with correctional

officers and corrections administrators; observed classrooms; and reviewed documents and data


9
    The Appointing Order states:

          Certain provisions of the lnjunction have been vacated outright and are therefore beyond the
          scope of the Special Master's responsibilities. Other provisions were affirmed and are subject to
          the Special Master's review. Finally, sorrre provisions were vacated and renranded for a
          determination whether they are supporled by f-ederal law. This is a rrrixed question of law and
          fact, which makes facts related to those provisions appropriate for the Special Mastel''s t'eview.
          Indeed, in the event that he finds facts that would rnilitate against the renewal of such a provision,
          it rnay be unnecessary to deterrnine whether that provisiort has a basis in federal law.




                                                            7
      Case 1:96-cv-06161-GBD-JCF Document 294 Filed 12/18/18 Page 12 of 23




supplied by DOE and DOE, including individualized education programs ("lEPs") and special

education plans ("SEPs"). On January 30,2015, Dr. Leone provided his initial repofi to the

Court and the parties. Magistrate Francis issued a report and recommendation on December 15,

2015 ("Reporl and Recommendation"; Docket No.230), which the Court in large measure

adopted and incorporated into the cument injunction Order (Docket No. 250).

                  The Order has the following five monitoring provisions:

                  Provision of Educational Services

                       1. All eligible inmates   shall be provided a minimum of 3 hours            of
                            educational services every school day.

                       2.   Placement in a restricted housing unitro does not change an
                            eligible inmate's entitlement to educational services under any
                            provision of this Order.

                       3.   Unless stated explicitly to the contrary, any and all
                            requirements set forth in this Order shall apply to all of the
                            schools, educational programs, and methods of instruction
                            operated by DOE in DOC facilities.

                       4.   DOC shall ensure that each eligible inmate is provided access to
                            educational services consistent with this Order in a tirnely
                            manner, including if necessary providing escofts for travel to
                            and frorn his or lier place of educational instruction.

                  Special Education Servtces

                       5.   Inmates who are disabled arrd identified as in need          of   special
                            education or related services shall receive such services,
                            including when placcd in a rcstrictcd hoLrsing unit or method of
                            instruction. If necessarl,. an lndividrralized Education Plarr
                            ("lEP") or Special Education Plan ("SEP") nray be rrrodified in
                            accordarrce with 20 U.S.C. $ l4l4(d) and 34 C.F.R. S 300.324,
                            consisterrt with legitirlate penal objectives. ln the event this


'0 DOC has two special housing units, the Transitional Restorative Units ("TRU") and Second Chance Flousing
Units ("Second Chance"), that appear to be covered by the currelrt injunction Order, but are not "restricted housing
units." These special housing areas have the sarre oLrt-of'-cell tirne as general population (i.e. l4 hours), and group
and individualized support plogramrning. ln addition to these special housing urrits, DOE has Enhanced Security
Housing ("ESH") and Secure Housing Units ("Secure"). which are structured housing areas with several different
levels or phases of security, with a minirnum of seven hours out-of-cell tirne. Only inrrates who are l8 years of
age or older rnay be placed ESH or Secure.




                                                          8
       Case 1:96-cv-06161-GBD-JCF Document 294 Filed 12/18/18 Page 13 of 23




                          occurs, sllch modifications slrall be     the least      restrictive
                          necessary to accorrmodate the security needs of the   jail.

Under the Order, among other things, Dr. Leone was appointed for a 2-year term (the

"Monitored Period") which ended on March 16,2018.

                  Pursuant to the Order, Dr. Leone issued three semi-annual reports. In the Third

Report, among other things, Dr. Leone summarized his findings from his visits during the two-

year Monitored Period, noted the status            of   compliance   for each monitoring         provision,

commented on outstanding issues, and concluded with several recommendations. Third Report

at   3. During   the Monitored Period, Dr. Leone conducted seven site visits for a total of sixteen

days. Id. at     4.   He observed classroom instruction and interviewed administrators, teachers,

DOE and DOC support staff, and students. He reviewed attendance tecords, and IEPs, SEPs

and related documents.      Id.   He debriefed with DOC and DOE leadership at the end of each visit

and shared observations from the visit and made recommendations. He also conferred with

DOE administrators from Distri ctTg,which operates DOE's educational programs for detainees

whether adolescents (16 and 7'7 years old) or young adults (18-21 years old),                    to request

additional information and documents. Id.

                  City Defendants now move to have tlie Court confirm certain portions of the

Third Repor"t and to reject Plaintiffs' objections to portions of the Second and Third Reports,

                                       STANDARD OF REVIEW

                 Rule 53 of the Federal Rules of Civil Procedure governs the appointment of

masters. It provides that a master rnay be appointed to "address post trial matters that cannot be

effectively and timely addressed by an available district judge or magistrate judge of the

district." Fed. R. Civ. P.53(aXlXC). In acting on a master's report, the court must give the

parties notice and an opportunity to be heard; may receive evidence, and rnay "adopt or affirm,



                                                    9
     Case 1:96-cv-06161-GBD-JCF Document 294 Filed 12/18/18 Page 14 of 23



modify, wholly or partly reject or reverse or resubmit to the master with instructions." Id. at

53(0(1). The court must decide de novo all objections to a master's findings of fact or

conclusions of   law. Id. at 53(0(3) and (4); Island Intellectual Property LLC v. Deutsche Bank

AG, 2012 U.S. Dist. LEXIS 16413 at *5 (S.D.N.Y. Feb. 6, 2012); In re: Intel                   Corp.

Microprossor Antitrust Litigation; Paul v. Intel Corp.,2012U.S. Dist. LEXIS 141137 at*5-6

(D. Del. 2012); D.C. v. Department of Education, State of Hawaii, 2008 U.S. Dist. LEXIS

56507 (D. Haw. July 25,2008) (magistrate report), adopted 2008 U.S. Dist. LEXIS 71830 (D.

Haw. Aug.25,2008).

                 In addition, it is undisputed that the Prison Litigation Reform Act, 18 U.S.C.    $


3626 ("PLRA"), applies to this case. Handberry, 446 F.3d at 341-56. The PLRA limits a

federal court's power to continue prospective relief by requiring the court to make "written

findings based on the record that prospective relief remains necessary to correct a current and

ongoing violation of the Federal right [of a particular plaintiff or plaintiffs], extends no further

than necessary to correct the violation of the Federal right, and is narrowly drawn and the least

intrusive means to correct the violation." 18 U.S.C. $ 3626(bX3). The courl and therefore the

special master are also required     to give substantial weight to any     adverse impact on the

operation of a criminal justice system caused by the relief. 18 U.S.C. $ 3626(a)(1)(A).




                                                10
       Case 1:96-cv-06161-GBD-JCF Document 294 Filed 12/18/18 Page 15 of 23



                                           LEGAL ARGUMENT

                                                  POINT ONE

                           THE COURT SHOULD AFFIRM        THE
                           SPECIAL MASTER'S FACTUAL FINDINGS
                           THAT DURING THB MONITORED PERIOD
                           ADOLESCENTS WERE PROVIDED WITH
                           LEGALLY SUFFICIENT EDUCATIONAL
                           SERVICES EACH SCHOOL DAY AND
                           OVERRULE PLAINTIFFS' OBJECTIONS

                  The Special Master repeatedly found the City Defendants substantially compliant

with all five substantive provisions of the Order (paragraphs l-5) as applied to 16 and 17 year

old eligible inmates during the Monitored Period. Third Report at2, 4,8, I 1, l3-15.

                  Paragraph 1      of the Order requires eligible inmates to be provided with a
minimum of three of hours of educational services each school day, and paragraph 2 states that

placement    in a restricted housing unit does not change an eligible inmate's entitlement                        to

educational services under any provision of the Order. As to these two paragraphs, the Special

Master found that apart from excused absences, 16 and                       l7   year olds    (all of whom       are


compulsory education students) received an average of five hours of educational serviceslleach

sclrool day (id. at 2,   4). This includes      those placed in Transitional Restorative Units ("TRU"),

Second Chance Hotrsing Units ("Second Chance"), Mental Ohservation lJnits ("MOU"), and

Protective Custody ("PC"). Id. at          4,8; Declaratiort of Tonya Threadgill, dated December 18,

2018 ("Threadgill Decl."), flfl7, 10, 11, 17.20. and Exhibits                A-D.    Thus the City Defendants



I   I Th. curriculurn fol education in detention settings is governed solely by New York law and is outside the
purview of this Court. Handberry,344 F.3d at344-1 .355-6. For the Coult's t'eference, the curricultttn is set fot-th
in 8 NYCRR I I8.4(b) and provides for thlee hours of instruction each school day, of whiclt two hours rnust be
instluction in reading, rnathelnatics and oral and wlitten corrtrnunication. The remaining hour may include
activities such as Iife skills education, instructiorr concerning substance abuse, including the rnisttse of alcohol,
tobacco and other drugs, and other appropriate prograrns approved by the State Education Cornrnissionet'.




                                                         11
     Case 1:96-cv-06161-GBD-JCF Document 294 Filed 12/18/18 Page 16 of 23




were in substantial compliance with Injunction Order paragraphs 1 and 2 for adolescent eligible

inmates during the Monitored Period.

                 Plaintiffs argue that the Third Report's conclusion for adolescents in       these

housing units should be rejected because it does not contaifr detailed facts concerning TRU,

MOU, and PC; did not mention Second Chance housing by name; and lacked "factual data" to

support the conclusion that educational services provided to adolescents in these housing units

were similar andlor comparable to those provided to other students. See Plaintiffs' Objections

to Dr. Leone's Second and Third Monitoring            Reports, (Docket     No.   284;; "Plaintiffs'

Objections") at 4-5. They also complain that Dr. Leone's explanation of his methodology lacks

details. Id. at 5.

                 Plaintiffs' obiections are without merit. First, the coursework provided by ERA

to adolescents is outside the scope of the Federal court's jurisdiction. Only the provision of no

education would be actionable, Handberry, 446 F.3d at 352-56. Second. from January 2077 to

the end of the Monitored Period, 4ll adolescents, regardless of housing unit, received

educational services in a classroom setting, and all received more than three hours each school

day. ThirdReport at4,8;Threadgill Decl.,flfl7, 10. 11, 17,20, andExhibitsA-D. Further,as

set fbrth in paragraph   l7 of the Threadgill declaration, adolescent   inmates in Second Chance

Housing received more than three hours of educational services in a srnall class setting each

school   day. Finally, Dr. Leone's methodology is well      docurnented and detailed. Indeed,

plaintiffs acknowledge that his methodology included visiting housing units and observing

classes. This is more than a sufficient basis on which to conclude that adolescent eligible

inmates in TRU, Second Chance, MOU, and PC were provided with access to a minimum of

three hours of educational services each school day. The identification of which classes were




                                                12
        Case 1:96-cv-06161-GBD-JCF Document 294 Filed 12/18/18 Page 17 of 23



observed is irrelevant. The relevant conclusion                 -   that adolescents were provided with at least

three hours of educational services each school day, regardless of housing area - is sufficiently

                                                                    r2
detailed in the Third Report and should be aclopted.

                    Further, City Defendants acknowledge that the Third Report does not cover the

period beginning on October            l,   2018, the date on which the Raise the Age legislation took

effect.   See    N.Y. Correction Law $ 500-p. That fact does not render the Third Report irelevant

or moot     as   plaintiffs suggest. Lancaster v. Tilton, 2007 U.S. Dist. LEXIS 95523 at *17-19

(C.D. Cal. 2007) (Fact-finding conducted before termination motion and during prior 13-month

period were relevant to assess current prison conditions); accord, Benjamin v. Jacobson, 172

F    .3d 144, 166 (2d Cir. 1998). The weight to be given to the Report may be assessed when it is

proffered.

                    The Special Master also found that the City Defendants were in substantial

compliance concerning paragraph 3 of the Order. It provides that all requirements of the Order

apply to all schools, educational programs and methods of instruction operated by DOE in DOC

facilities. This paragraph did not apply to adolescent eligible inmates last school year since they

were housed at.jails on Rikers Island at which ERA lield school. Threadgill Decl.,flfl7, 15. In

his Third Report, the Special Master detailed the evidence on which he relied to make his

findings, noting that he found no systemic problem with City Defendants' processes and efforts

to ensure that all inmates eligible and interested in attending ERA were transferred to facilities

in wticl'r ERA provided educational services. Icl. at 1 1-12; Threadgill Decl., fl15. He noted that

t)
'' City Defendants also note that Plaintiffs orrritted that Dr. Leone conducted seven site visits fbr a total of l6 days,
intelviewed adrninistrators, teachers, DOE and DOC support staft, and students, reviewed attendance records, IEPs.
SEPs. and related docurrrents, debriefed with DOC and DOE leadership at the end of each visit, sharing
observations and making reconrmendations, and followed up with DOE by requesting additional records and data.
Third Reporr at 3-4.




                                                           l3
     Case 1:96-cv-06161-GBD-JCF Document 294 Filed 12/18/18 Page 18 of 23



"[b]oth DOC and DOE leadership are well aware of the education rights of inmates and strive to

ensure those interested     in attending school leceive services." Third Report at 12; see also,

Threadgill Decl.,   fll5.   Thus City Defendants are     in   substantial compliance with Injunction

Order paragraph 3.

                Paragraph 4 concerns DOC's escorting of eligible inmates to school. Since Dr.

Leone found that 1 6 and 17 year olds received an average of five hours of educational services

each school day during the Monitored Period       - a finding that plaintiffs do not question -- the
City Defendants are in substantial compliance with this provision for adolescents. Id. ar2,4,8,

13. To the extent that plaintiffs question the evidence supporting the finding that adolescents in

TRU, Second Chance, MOU, and PC were provided with at least three hours of educational

services each school day, plaintiffs' position is without basis, since Dr. Leone explained the

basis for his conclusion.       Id.   Moreover, this factual finding    is further supported by    the

Declaration   of Tonya Threadgill, who        attested   to the educational    services provided to

adolescents   in TRU, Second      Chance, MOU, and PC during the Monitored             Period.     See


Threadgill Decl., fl7, 16-20.

               Paragraph 5 requires DOE to provide special education and/or related services to

students who are disabled and identified as        in need of     such services (including those in

restricted housing units or methods of instruction). SEPs (or IEPs         if irnplernented   at ERA),

may be rnodified in accordance with (a) the IDEA. and/or (b) legitimate penal objectives,

provided the modifications are the least restrictive necessary to accommodate the jail's security

needs. In liis Third Report, the Special Master found substantial compliance witli                this

provision. The Special Master detailed the review he undertook to reach his conclusions and

the work that DOE does in regard to rneeting its programmatic and educational obligations.



                                                 14
       Case 1:96-cv-06161-GBD-JCF Document 294 Filed 12/18/18 Page 19 of 23



Moreover, Dr. Leone found substantial compliance with this special education provision in

every monitoring report he issued, which covers the period fiom the 2016-17 school year going

folward.   See Dr. Leone's repofts      filed as Docket Nos.       23 7-4   at   1l;273-l at l1-1 5;273-2 at 13-

15. He based his conclusion on staff interviews and a review of files which evidenced the fact

that ERA reviews files and interviews inmates at intake for special education eligibility as they

are placed.    Third Report at 14. DOE reviews its online             data bases, including SESIS, STARST

and ATS for transcripts, school history and special education status. And on the rare instances

in which a student comes from a school district outside the City, staff request records from that

school district. Third Report at 14; Threadgill Decl., flfl13-14.

                  He also reviewed SEPs, interviewed special education teachers and observed

instruction of students with disabilities. He discussed with teachers and counselors special

education service delivery and the students with disabilities on their rosters. He interviewed

students with SEPs who were receiving special education services, including those housed in

general population and those in other       units. Third Report ar 13-14.

                 Dr. Leone also discussed his extensive review of SEPs and IEPs for 19 students

witlr disabilities undertaken in March 2017. His conclusion was that the SEPs, which are the

type   of education plan implemented at ERA,                 were materially similar         to the   previously

developed IEPs.       All contain information       about present levels of perfbrmance, annual goals,

frequency and intensity of special education services. Finally. he noted that for two students,

the SEPs were comparable. but not identical. to their IEPs. FIe analyzed the diflbrences, which

were not material.l3 Id.         al 14-15.     Moreover.     all   SEPs are developed         at IEP/SEP    team



l3
  For file #3, the student's IEP contained one reading, one writing. two rnath and two counseling goals, while the
SEP contained one readirrg. one writing, one math and one social developrnent goal. The related service of 40

Continued...

                                                       l5
      Case 1:96-cv-06161-GBD-JCF Document 294 Filed 12/18/18 Page 20 of 23




conferences that meet the requirements of the IDEA and permit the student's special education

plan to be revised and/or modified. 20 U.S.C. $S 1414(d)(3))(D), (dX4XAXii)); Threadgill

Decl., fl13.

                  Plaintiffs argue that a detainee's IEP cannot be modified unless there is                           a


legitimate penalogical reason. That is incorrect. The Second Circuit expressly acknowledged

that detention special education plans (which used to be called Temporary Education Plans and

are now called Special Education Plans) may differ from that oflered in community schools.

Handberry, 446 F.3d at 348-51. Further, plaintiffs are mistaken when they suggest that

modification is only permitted if there is a penalogical reason. While a legitimate penalogical

reason may serve as a reason         for modifying an SEP if needed, it does not displace the IDEA's

methods of modifying education plans. 20 U.S.C. $ 3626(a)(l). Nor should                         it.   The changing

needs     of the student should drive the content of the student's special education plan, and                       if
needed, the plan should be revised and/or modified accordingly. 20 U.S.C. $$ 1414(dX3)XD),

(dx4xAXii)).

                  Hence Plaintiffs' objections should be rejected. Since there was substantial

compliance with all paragraphs of the Order during the Monitored Period, and no finding of

systemic classwide violation of the federal rights of adolescent eligible inmates, the findings of

the l'hird Report for the Monitored Period as applied to adolescents should be affirmed.




minutes   of individual counseling per week was identical on both plans. The IEP placement called for a l5:l
                                                                                           with l:l pull-out
student to teachel ratio. whereas the SEP placed the student in an integrated instructioltal rnodel
services each school day.

For file #13. the student's IEP and SEP contained similar instructional goals, with instruction in a general co-taugltt
class. Where the IEP listed paraprofessional supporl, the SEP identifled special education suppon in science and
social studies. Moreover', the SEP inclLrded 40 rrrinutes of counseling once a week, a related service not on the IEP,
wlrich rlay be reflective of the student's individual needs in light of incarceration. Third Report at 15.




                                                          16
     Case 1:96-cv-06161-GBD-JCF Document 294 Filed 12/18/18 Page 21 of 23




                                           POINT TWO

                        THE COURT SHOULD AFFIRM       THE
                        SPECIAL MASTER'S FACTUAL FINDINGS
                        AS TO DOE DURING THB MONITORED
                        PERIOD, AND OVERRULE PLAINTIFFS'
                        OBJECTIONS

                The facts concerning DOE, as found by the Special Master in his Third Report,

should be affirmed. They show that DOE is in substantial compliance with its obligations under

the Order.

                Plaintiffs do not raise an objection to Paragraph 1 of the Order, which requires

that eligible inmates have access to three hours of educational services each school day. The

evidence adduced by the Special Master shows that DOE has consistently operated school areas

on Rikers Island during the Monitored Period that offered eligible inmates educational programs

that either met or exceeded the 3-hour daily requirement, See Threadgill Decl., flfl7, 10,    1   l,   16-

20 and Exs. A-F. ERA offered daily educational programs of five hours fbr the adolescents (ld.

at 4), and three to over four hours to young adult eligible inmates (id. at   4). Id. ERA is neither

responsible for nor empowered to escorl students to school. Hence it has met its obligations as

to paragraph one, and is in substantial compliance witl-r it.

               Paragraph 2 concerns eligible inmates       in restricted housing units. Dr.   Leone

found substantial compliance with this paragraph for      l6 and 17 year olds (id. at 8), and noted

lengthy delays in students getting to class for 18-21 year olds in ESH and Secure. Flowever, he

also r.roted that the ESH class that he observed at OBCC was staffed by two teachers, dually

certified in special education and content areas. and the class at GRVC Secure was staff'ed with

one duafly certified teacher. Id.    at 10. In addition. he observed DOE-provided counseling

services in the ESH class. Icl. at 9'. Finally, althor-rgh Dr. Leone speculated about whether the



                                                  l7
     Case 1:96-cv-06161-GBD-JCF Document 294 Filed 12/18/18 Page 22 of 23



school area at GRVC Secure had enough desks, he did not observe any instance in which the

number of desks was insufficient to support those who attended school in that setting        - and in
any event, this falls to DOC. The staff provided by DOE is more than sufficient to meet its

obligations and any hypothetical need. Plaintiffs do not contest this aspect of Dr. Leone's

findings as to DOE.

                Paragraph 3 makes the Injunction Order requirements applicable to all schools,

etc. operated by DOE        in DOC facilities. The Special Master found City            Defendants in

substantial compliance with this paragraph during the Monitored Period. For 16 and 17 year

olds, this paragraph was easily met since they were housed at Rikers Island jails with DOE

school programs. (This is also the case today at Horizon, the speci alized secure juvenile

detention facility   in which adolescents are currently         housed now that the Raise the Age

legislation is in effect.) Threadgill Decl.,   fl7. Nor is there a systemic problem for    18-21 year

old young adult eligible inmates. Third Report          at"   12. And in any event, the movement of

young adult eligible inmates to jails in which ERA has a presence falls solely to DOC.

Threadgill Decl.,   fll5.   Hence, this finding should be affirmed and in any event is not within

DOE's purview.

                Palagraph 4 concerns movement of eligible inlnates so tltat        thiy are provided

access to educational services      in a timely matter, including through escorts if necessary. This

provision falls squarely within DOC's purview alone. Third Report ar 12-13.

                Paraglaph     5   concerns providing special education services    to   students with

disabilities. This falls to DOE, and the Special Master fbLrnd DOE in substantial compliance

with this paragraph's requirements. Thus the Special Master found that the SEPs that ERA

prepares   fbr students with disabilities were legally sufficient; DOE provides         students with




                                                   18
     Case 1:96-cv-06161-GBD-JCF Document 294 Filed 12/18/18 Page 23 of 23




disabilities with the special education services on their SEPs; students with disabilities in both

general population and in other types   ofunits leceive special education services; and the process

for identifying students with disabilities and providing them with the special education and

related services they need was consistent with the requirements of this provision. Id. at13-15.

Thus DOE is in substantial compliance with the requirements of paragraph 5 of the Injunction

Order.

               For all these reasons, the factual findings as to DOE in the Third Reporl show

that DOE was in substantial compliance with its obligations during the Monitored Period. They

should be affirmed and Plaintiffs' objections should be overruled.


                                          CONCI,USION

               For the reasons set forth      in this   memorandum    of law and the supporting
declaration of Tonya Threadgill, the Special Master's factual findings in tlre Third Report     of

substantial compliance as of the end of the Monitored Period should be affirmed as applied to

(a) adolescent eligible inmates; (b) DOE; and (c) City Defendants as to paragraph 3, (which

really falls to DOC); and the Plaintiffs' objections should be overruled.

Dated:         December 18, 2018
               New York, New York

                                               ZACHARY W. CARTER
                                               CORPORATION COUNSEL FOR THE
                                                 CITY OF NEW YORK
                                               Attorney fbr City Defendants
                                               Clrtrrch Street. Room 2-195
                                               New York. New York 10007


                                               By
                                                              Janice B    um
                                                              Seniol Counsel



                                                 19
